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                           EXHIBIT “A”
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                           Dale Arthur Weidenthaler 8/29/2018


     1                IN THE UNTIED STATES DISTRICT COURT

     2             FOR THE SOUTHERN DISTRICT OF CALIFORNIA

     3
         _________________________________
     4   MICHELLE MORIARTY, an individual,)
         as Successor in Interest to the )
     5   ESTATE OF HERON MORIARTY and as )
         GUARDIAN AD LITEM to ALEXANDRIA )
     6   MORIARTY ELIJAH MORIARTY, and     )
         ETERNITY MORIARTY,                )
     7                                     )
                      Plaintiffs,          )
     8                                     )
                vs.                        ) Case No.: 3:17-cv-
     9                                     )           01154-LAB-AGS
                                           )
    10   COUNTY OF SAN DIEGO, DR. ALFRED )
         JOSHUA, individually, and DOES   )
    11   1 through 10, Inclusive,          )
                                           )
    12                Defendants.          )
         _________________________________)
    13

    14

    15         VIDEOTAPED DEPOSITION OF DALE ARTHUR WEIDENTHALER

    16                         SAN DIEGO, CALIFORNIA

    17                             AUGUST 29, 2018

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    20

    21   REPORTED BY MANDY L. KERSH, CSR No. 10674

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                      Peterson Reporting Video & Litigation Services        1

                                      Exhibit "A"
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                           Dale Arthur Weidenthaler 8/29/2018


     1                IN THE UNTIED STATES DISTRICT COURT

     2             FOR THE SOUTHERN DISTRICT OF CALIFORNIA

     3
         _________________________________
     4   MICHELLE MORIARTY, an individual,)
         as Successor in Interest to the )
     5   ESTATE OF HERON MORIARTY and as )
         GUARDIAN AD LITEM to ALEXANDRIA )
     6   MORIARTY ELIJAH MORIARTY, and     )
         ETERNITY MORIARTY,                )
     7                                     )
                      Plaintiffs,          )
     8                                     )
                vs.                        ) Case No.: 3:17-cv-
     9                                     )           01154-LAB-AGS
                                           )
    10   COUNTY OF SAN DIEGO, DR. ALFRED )
         JOSHUA, individually, and DOES    )
    11   1 through 10, Inclusive,          )
                                           )
    12                Defendants.          )
         _________________________________)
    13

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    17        VIDEOTAPED DEPOSITION OF DALE ARTHUR WEIDENTHALER,

    18   taken by the Attorneys for the Plaintiffs, commencing at

    19   the hour 10:43 a.m., on Wednesday, August 29, 2018 at

    20   10620 Treena Street, Suite 230, San Diego, California,

    21   before MANDY L. KERSH, Certified Shorthand Reporter in and

    22   for the State of California.

    23

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                      Peterson Reporting Video & Litigation Services        2

                                      Exhibit "A"
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                           Dale Arthur Weidenthaler 8/29/2018


     1   APPEARANCES:

     2        For the Plaintiffs:
                   MORRIS LAW FIRM, APC
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                   BY: DANIELLE R. PENA, ESQ.
     4             501 West Broadway, Suite 1480
                   San Diego, California 92101
     5             T: 619.826.8060
                   F: 619.826.8065
     6

     7        For the Defendant Dr. Ralph Lissaur:
                   WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP
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                   401 West A Street, Suite 1900
     9             San Diego, California 92101
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    11        For the Defendant Dale Weidenthaler:
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    12             BY: JOHN T. KUTYLA, ESQ.
                   10620 Treena Street, Suite 230
    13             San Diego, California 92131
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    15        For the Defendant the County of San Diego:
                   OFFICE OF COUNTY COUNSEL
    16             BY: CHRISTOPHER J. WELSH, ESQ.
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    19

    20        For the Defendant Amanda Daniels and CPMG:
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    21             BY: JEFF DOGGETT, ESQ.
                   101 West Broadway, Suite 1110
    22             San Diego, California 92101
                   T: 619.233.5565
    23             F: 619.233.5564
                   jdoggett@ldrlaw.com
    24
              Also Present:     Shayne Davidson, Videographer
    25                          T: 619.234.1990

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                                      Exhibit "A"
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                            Dale Arthur Weidenthaler 8/29/2018


     1                                  I N D E X

     2   WITNESS:          DALE ARTHUR WEIDENTHALER

     3

     4   EXAMINATION                                                      PAGE

     5   BY MR. MORRIS                                                       6

     6   BY MR. DOGGETT                                                    162

     7   BY MR. MORRIS                                                     166

     8

     9

    10                              E X H I B I T S

    11   MARKED FOR IDENTIFICATION:                                     MARKED

    12   1    J.5, Inmate Prevention Practices and Inmate                   55
              Safety Program, Manual of Policies and Procedures
    13
         2    J.1, Safety Cells; Definition and Use, Manual of              64
    14        Policies and Procedures

    15   3    Vista Detention Facility deployment/staffing chart 140

    16   4    Email from Vicky Felizardo, dated 05/30/2016                 144

    17   5    Text messages between Deputy Johnson and Nurse               162
              Daniels
    18

    19
         Witness signature page                                            170
    20
         Certificate page                                                  171
    21

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                       Peterson Reporting Video & Litigation Services            4

                                       Exhibit "A"
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                           Dale Arthur Weidenthaler 8/29/2018


     1             THE VIDEOGRAPHER:         We are back on the record at

     2   3:07 p.m.

     3   BY MR. MORRIS:

     4        Q.   Okay.    We're back on the record, sir.             And I

     5   think I'm going to venture into an area of whether or not

     6   you were -- had any sort of counseling, discipline,

     7   investigation, whether you heard of such a discipline.

     8   And I think because I'm venturing into that area,

     9   privileged communications like that with your lawyer, he

    10   would like to register an objection and put it on the

    11   record before I begin that line of questioning?

    12             MR. KUTYLA:       Right.     The question I think you

    13   asked before was any conversations he had with Captain

    14   Schroder.    And I just want to object that the answer may

    15   require disclosure of privileged information and

    16   information that's subject to my client's right of privacy

    17   as a former employee of the County of San Diego.                But I'll

    18   let him answer the question regarding that conversation

    19   without waiving those objections.

    20             MR. MORRIS:       Thank you --

    21             MR. KUTYLA:       I think that covers it.

    22             MR. MORRIS:       Okay.

    23   BY MR. MORRIS:

    24        Q.   Subsequent to this interaction that you had with

    25   Deputy Guillory on the day and what happened with

                      Peterson Reporting Video & Litigation Services                157

                                      Exhibit "A"
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                           Dale Arthur Weidenthaler 8/29/2018


     1   Mr. Moriarty, did you have discussions with Captain

     2   Schroder regarding what happened that day?

     3        A.   No.

     4        Q.   Did you -- has anybody informed you that there

     5   was going to be an Internal Affairs investigation?

     6        A.   Yes.

     7        Q.   And who informed you of that?

     8        A.   I received a letter from Internal Affairs.

     9        Q.   And do you recall -- was it the captain in charge

    10   of IA?

    11        A.   No.

    12        Q.   Do you know who the letter was from?

    13        A.   Normally it's from a lieutenant.              I don't

    14   remember who it was.

    15        Q.   Okay.    Was it from a lieutenant, though; you just

    16   don't remember who?

    17        A.   I believe it was from a lieutenant.

    18        Q.   Okay.    And what did the letter say to you?

    19        A.   It just said that this is to inform me that an

    20   investigation to events surrounding whatever -- I don't

    21   even remember if it said Moriarty's name or not -- was --

    22   had been filed and was going to be investigated by

    23   Internal Affairs.

    24        Q.   Okay.    Did you, then -- I take it you contacted

    25   your union representative at that time?

                      Peterson Reporting Video & Litigation Services       158

                                      Exhibit "A"
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                           Dale Arthur Weidenthaler 8/29/2018


     1        A.   I contacted the attorney's office --

     2        Q.   Mr. Pinckard?

     3        A.   Actually I spoke to a different attorney.               Can't

     4   remember his name right now.           Chris?

     5             MR. KUTYLA:       Kowalski.

     6             THE WITNESS:       Kowalski.

     7   BY MR. MORRIS:

     8        Q.   Okay.    Chris Kowalski.         And I don't want to hear

     9   anything that you guys talked about.              That's a

    10   union-provided attorney, right?

    11        A.   Correct.

    12        Q.   And in connection with that IA investigation,

    13   were you ever interviewed by Internal Affairs?

    14        A.   I was not.

    15        Q.   Did you receive any further follow-up

    16   communication regarding an active investigation?

    17        A.   I received communication from Internal Affairs

    18   saying that the case was closed and was not going to be

    19   investigated.

    20        Q.   And that was my understanding.               But I was asking,

    21   did you receive -- in between being notified that they

    22   were going to launch one and being notified that it was

    23   going to be closed, did you receive any communications in

    24   that interim regarding what was going on with the

    25   investigation, that they wanted to talk to you or anything

                      Peterson Reporting Video & Litigation Services                159

                                      Exhibit "A"
Case 3:17-cv-01154-LAB-AGS Document 213-1 Filed 05/13/20 PageID.6453 Page 9 of 13

                           Dale Arthur Weidenthaler 8/29/2018


     1   like that?

     2        A.   I got a phone call from Captain Schroder saying

     3   that that case was going to be closed and was not going to

     4   be investigated.

     5        Q.   How long after you had received the letter

     6   regarding the investigation did you realize -- or did

     7   you -- were you informed that it was going to be closed?

     8        A.   I would estimate two to three months.

     9        Q.   And in between the notification and that

    10   two-to-three-month phone call, had you received any

    11   further communication from anybody about IA about wanting

    12   to talk to you or anything like that?

    13        A.   No.

    14        Q.   Had your attorney received any communication as

    15   far as you know?

    16        A.   As far as I know, no.

    17        Q.   And then how long after that call that you

    18   received from Captain Schroder did you receive official

    19   word that it had been shut down?

    20        A.   Like seven months, eight months.

    21        Q.   Seven months after?

    22        A.   Yeah.    Yes.

    23        Q.   And did this investigation have anything to do

    24   with your retirement?

    25        A.   No.

                      Peterson Reporting Video & Litigation Services       160

                                      Exhibit "A"
Case 3:17-cv-01154-LAB-AGS Document 213-1 Filed 05/13/20 PageID.6454 Page 10 of 13

                             Dale Arthur Weidenthaler 8/29/2018


     1        Q.    And when did you leave the Vista jail?

     2        A.    March 16th.

     3        Q.    Of 2000 --

     4        A.    2018.

     5        Q.    And when you left, was it still your impression

     6    that there was some discretion given to safety cell

     7    placement for homicidal inmates, but that there was strict

     8    adherence to the safety placement for suicidal inmates?

     9    Was that still your understanding of what --

    10        A.    Yes.

    11        Q.    -- the custom and practice was?

    12        A.    Yes.

    13              MR. MORRIS:        That's all I have.

    14              MR. KUTYLA:        Okay.    Anybody?

    15              MR. DOGGETT:        Do you want to go first or do you

    16    want me to?

    17              MR. WELSH:       I have no questions.

    18              (A brief discussion was held off the record.)

    19              MR. MORRIS:        Previous to -- previously I had

    20    addressed an exhibit with you, Mr. Weidenthaler, Dale, and

    21    I had not actually marked it on the record.                    And so it's

    22    this one, the text message one.

    23              For the record, I've marked a series of text

    24    messages between Deputy Johnson and Nurse Daniels as

    25    Exhibit 5.     And these are the questions that I was asking

                        Peterson Reporting Video & Litigation Services                 161

                                        Exhibit "A"
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                           Dale Arthur Weidenthaler 8/29/2018


     1              MR. KUTYLA:      Agreed.

     2              MR. READY:     Agreed.

     3              THE VIDEOGRAPHER:        Off the record at 3:22 p.m.,

     4    and this marks the end of this deposition.

     5              (Whereupon the deposition ended at 3:22 p.m.)

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                      Peterson Reporting Video & Litigation Services        169

                                      Exhibit "A"
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                           Dale Arthur Weidenthaler 8/29/2018


     1              Declaration Under Penalty of Perjury

     2

     3

     4              I, DALE ARTHUR WEIDENTHALER, the witness herein,

     5    declare under penalty of perjury that I have read the

     6    foregoing in its entirety; and that the testimony

     7    contained therein, as corrected by me, is a true and

     8    accurate transcription of my testimony elicited at said

     9    time and place.

    10

    11              Executed on this _______ day of _____________,

    12    2018, at _________________, ____________________.

    13                    (City)                     (State)

    14

    15                          ___________________________________
                                          DALE ARTHUR WEIDENTHALER
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                      Peterson Reporting Video & Litigation Services       170

                                      Exhibit "A"
Case 3:17-cv-01154-LAB-AGS Document 213-1 Filed 05/13/20 PageID.6457 Page 13 of 13

                           Dale Arthur Weidenthaler 8/29/2018


     1    STATE OF CALIFORNIA

     2    COUNTY OF SAN DIEGO

     3

     4              I, Mandy L. Kersh, Certified Shorthand Reporter,

     5    in and for the State of California, Certificate No. 10674,

     6    do hereby certify:

     7              That the witness in the foregoing deposition was

     8    by me first duly sworn to testify to the truth, the whole

     9    truth and nothing but the truth in the foregoing cause;

    10    that the deposition was then reported by me in shorthand

    11    and transcribed, through computer-aided transcription,

    12    under my direction; and that the above and foregoing

    13    transcript, is a true record of the testimony elicited and

    14    proceedings had at said deposition.

    15              I do further certify that I am a disinterested

    16    person and am in no way interested in the outcome of this

    17    action or connection with or related to any of the parties

    18    in this action or to their respective counsel.

    19

    20              In witness whereof, I have hereunto set my hand

    21    this ___ day of _______________________, 2018.

    22
                                       _____________________________
    23                                 MANDY L. KERSH, CSR No. 10674

    24

    25

                      Peterson Reporting Video & Litigation Services

                                      Exhibit "A"
